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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF MONTANA
                                                                     FILED
                                BUTTE DIVISION                       FEB I 5 2018
                                                                  Clerk, U.S. District Court
In re:                                                               District Of Montana
                                                                            Helena


YELLOWSTONE MOUNTAIN                             CV 15-40-BU-SEH
CLUB, LLC, et al,
                                            Bankruptcy No. 08-61570-11
                     Debtors.
                                            Adversary No. 10-00015

BRIAN A. GLASSER, AS TRUSTEE                   STIPULATED ORDER
OF THE YELLOWSTONE CLUB                      REGARDING INJUNCTION
LIQUIDATING TRUST,                           ORDER (BANKR. DOC. 216)

                       Plaintiff,

  vs.

DESERT RANCH LLLP, a Nevada
limited liability limited partnership;
DESERT RANCH MANAGEMENT
LLC, a Nevada limited liability
company; TIMOTHY BLIXSETH, an
individual; BEAU BLIXSETH, an
individual; THORNTON BYRON
LLP, an Idaho limited liability
partnership; GEORGE MACK, an
individual; JOHN DOES 1-100; and
XYZ CORPS. 1-100,

                       Defendants.
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          Pending before the Court is Plaintiff Brian A. Glasser, as Trustee of the

Yellowstone Club Liquidating Trust's Amended Motion for Entry of a Stipulated

Order Modifying Preliminary Injunction1 and the parties' Stipulation regarding

Injunction Order,2

       ORDERED:

          I.     The Bankruptcy Court's order dated December 13, 2013 (Bankr. Doc.

216) (the "Restraining Order") enjoining Timothy L. Blixseth ("Blixseth") "from

spending, transferring, concealing, dissipating, disposing, assigning,

hypothecating and/or encumbering any of [his] assets in an amount or of a value

that exceeds $5,000.00 without prior Court approval" 3 is hereby modified solely

for the purpose of allowing Blixseth to transfer, assign, or encumber the Litigation

Rights (as defined in the Stipulation4) to the Third Party (as defined in the

Stipulation5) in connection with the consummation of the transactions




       1
           Doc. 155.
       2
           Doc. 156-2.
       3
        Doc. 216 at 2, In re Yellowstone Mountain Club, LLC, Adv. No. 10-00015 (Bankr. D.
Mont. Dec. 13, 2013).
      4
           Doc. 156-2.

      s Doc. 156-2.

                                            2
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contemplated by the Agreement (as defined in the Stipulation6).

         2.   Except as expressly modified herein, the Restraining Order shall

remain in full force and effect.

         3.   The authority granted pursuant to this Stipulated Order and any

transfer, assignment, or encumbrance pursuant hereto shall be null and void and of

no force and effect if the Third Party fails to timely consummate the transactions

contemplated by the Agreement.

      DATED this / A y of February, 2018.




                                       United States District Judge




     6
         Doc. 156-2.

                                         3
